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                    IN THE UNITED STATES DISTRICT COURT/
                    FOR THE EASTERN DISTRICT OF VIRGINIA                         ^
                             NEWPORT NEWS DIVISION                      /


UNITED STATES OF AMERICA                      )

               V.                             ) DOCKET NO.4:20-MJ-JjL
                                              ) (Misdemeanor)
STEPHEN C.CLARE                               ) VA 19
                                              )
                                              ) Court Dale: January 31,2020
                                              ) Time; 8:30 a.m.

                               CRIMINAL INFORMATION

                                       COUNT ONE
                           (Misdemeanor) Ticket No, 8091577

THE UNITED STATES ATTORNEY CHARGES:

       That on or about January 20, 2020, at Fort Eustis, Virginia, on lands acquired for

the use of the United States, within the special maritime and territorial jurisdiction of the

United States and the Eastern District of Virginia, the defendant, STEPHEN C. CLARE,

did knowingly and unlawfully operate a motor vehicle while under the influence of
alcohol. (In violation of Title 18, United States Code, Sections 7& 13, assimilating
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    Code of Virginia, Section 18.2-266 and 270(A)).




                                        G.ZACHARY TERWILLIGER
                                        UNITED STATES ATTORNEY



                                By:
                                       STAGEY N..lACOVETTI
                                        Attorney for the Government
                                        United Slates Attorney's Otllcc
                                        2732 Madison Avenue
                                        Fort Eustis, Virginia 23604
                                        Phone: (757)878-2205,ext 234
                                        Fax: (757)878-5289
                                        stacey.n.jacovetti.mili^mail.mil
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                              CERTIFICATE OF SERVICE


   I certify that on 7<xn   .2020,1 served a true copy ofthe foregoing CRIMINAL

INFORMATION on Stephen Pfeiffer,counsel the defendant STEPHEN C. CLARE.




                                   By:
                                         STACEYN.JACOVETTI
                                          Attorney for the Government
                                          United States Attorney's Office
                                          2732 Madison Avenue
                                          Fort Euslis. Virginia 23604
                                          Phone: (757)878-2205. cxt 234
                                          Fax: (757)878-5289
                                          stacey.n.jacovetti.m i 1'Sjmail.mi1
